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        ï   Ó½ÙÎÛÙÑÎ Éò ÍÝÑÌÌ
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            ß--·-¬¿²¬ ËòÍò ß¬¬±®²»§
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       ïé                                                          Þ·¹»´±©
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       ïè   ß¬¬±®²»§ ß¬ Ô¿©ô ¿²¼ ¬¸» Ë²·¬»¼ Í¬¿¬»- ±º ß³»®·½¿ô ¬¸®±«¹¸
       ïç   ß--·-¬¿²¬ ËòÍò ß¬¬±®²»§ Õ»²²»¬¸ Öò Ó»´·µ·¿²ô ¿¹®»» ¬± ª¿½¿¬» ¬¸»
       îð   -¬¿¬«- ½±²º»®»²½»- -½¸»¼«´»¼ º±® Ö«²» êô îððèò           Ì¸» °¿®¬·»-
       îï   º«®¬¸»® -¬·°«´¿¬» ¬¸¿¬ -¬¿¬«- ½±²º»®»²½»- ¾» °´¿½»¼ ±² ¬¸»
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       îë   ¬¸» °®±½»-- ±º ½±²-·¼»®·²¹ ¬¸·- ±ºº»®ô ¿²¼ ²»»¼- ½±²-·¼»®¿¾´§
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        ï         ß½½±®¼·²¹´§ô ¾±¬¸ °¿®¬·»- ®»¯«»-¬ ¬¸¿¬ ¬¸» -¬¿¬«- ½±²º»®»²½»
        î   ·² ¬¸»-» ½¿-»- ¾» ½±²¬·²«»¼ ¬± Ö«²» îéô îððèò         Þ±¬¸ °¿®¬·»-
        í   ¿¹®»» ¬¸¿¬ ¬·³» -¸±«´¼ ¾» »¨½´«¼»¼ ¬¸®±«¹¸ Ö«²» îéô îððèô º®±³
        ì   ½±³°«¬¿¬·±² «²¼»® ¬¸» Í°»»¼§ Ì®·¿´ ß½¬ °«®-«¿²¬ ¬± ´±½¿´ ½±¼» Ìì
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